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 6

 7
                              UNITED STATES DISTRICT COURT
 8
                           SOUTHERN DISTRICT OF CALIFORNIA
 9
10                                                       Case No.:      '22CV508 BEN MDD
11
     REBECCA LUKENS,                                     COMPLAINT FOR DAMAGES
12                                                       FOR (1) VIOLATIONS OF THE
                         Plaintiff,                      ROSENTHAL FAIR DEBT
13                                                       COLLECTION PRACTICES ACT
            vs.                                          (CAL. CIV. CODE §§ 1788-1778.32);
14                                                       AND (2) VIOLATIONS OF THE
                                                         TELEPHONE CONSUMER
15   US BANK, NATIONAL                                   PROTECTION ACT (47 U.S.C.
     ASSOCIATION,                                        §227)
16
                       Defendant,
17
                                                         JURY TRIAL DEMANDED
18

19

20                                COMPLAINT FOR DAMAGES
21                                        INTRODUCTION
22 1. REBECCA LUKENS, a/k/a Rebecca Ricci (hereinafter referred to as “Plaintiff”),

23      by and through her Counsel of record, brings this action against US BANK,
24      NATIONAL ASSOCIATION (hereinafter referred to as “US BANK” or
25      “Defendant”), pertaining to actions by Defendant to unlawfully collect a debt
26      allegedly owed by Plaintiff, including but not limited to, collection via the use of
27      an Automated Telephone Dialing System (“ATDS”) and/or Artificial or
28      Prerecorded Voice in violation of the Telephone Consumer Protection Act, 47
                                                   -1-
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 1         U.S.C. § 227 et seq., (“TCPA”), and the Rosenthal Fair Debt Collection Practices
 2         Act (“RFDCPA” [Cal. Civ. C. §§ 1788-1788.32]), thereby invading Plaintiff’s
 3         privacy, and causing Plaintiff damages.
 4 2. The California legislature determined that unfair or deceptive collection practices

 5         undermine the public confidence which is essential to the continued functioning of
 6         the banking and credit system. The legislature further determined there is a need
 7         to ensure that debt collectors and debtors exercise their responsibilities to one
 8         another with fairness, honesty, and due regard for the rights of others. The
 9         legislature’s explicit purpose of enacting the Rosenthal Fair Debt Collection
10         Practices Act of California (hereinafter “RFDCPA”) was to prohibit debt
11         collectors from engaging in unfair or deceptive acts or practices in the collection
12         of consumer debts and to require debtors to act fairly in entering into and honoring
13         such debts. 1 Cal. Civ. Code § 1877.17 incorporates the FDCPA into the
14         RFDCPA, by stating that every debt collector collecting or attempting to collect a
15         consumer debt shall comply with the provisions of the Federal Fair Debt
16         Collection Practices Act, sections 1692b to 1692j, inclusive, of, and shall be
17         subject to the remedies in Section 1692k of, Title 15 of the United States Code.
18 3. The Telephone Consumer Protections Act (hereinafter referred to as “the TCPA”)

19         was designed to prevent calls like the ones described within this complaint, and to
20         protect the privacy of citizens like Plaintiff. “Voluminous consumer complaints
21         about abuses of telephone technology – for example, computerized calls
22         dispatched to private homes – prompted Congress to pass the TCPA.” Mims v.
23         Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
24 4. In enacting the TCPA, Congress specifically found that “the evidence presented to

25         Congress indicates that automated or prerecorded calls are a nuisance and an
26         invasion of privacy, regardless of the type of call . . .” Id. at §§ 12-13. See also,
27

28
     1
         CA Civil Code §§ 1788.1(a)-(b)
                                                      -2-
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 1     Mims, 132 S. Ct., at 744.
 2 5. As Judge Easterbrook of the Seventh Circuit explained in a TCPA case regarding

 3     calls similar to this one:
 4

 5           The Telephone Consumer Protection Act … is well known for its provisions
             limiting junk-fax transmissions. A less-litigated part of the Act curtails the
 6           use of automated dialers and prerecorded messages to cell phones, whose
 7           subscribers often are billed by the minute as soon as the call is answered—
             and routing a call to voicemail counts as answering the call. An automated
 8           call to a landline phone can be an annoyance; an automated call to a cell
 9           phone adds expense to annoyance.
10           Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012)
11

12 6. Plaintiff makes the allegations contained herein on information and belief, except

13     as to those allegations regarding himself, which are made and based upon personal
14     knowledge.
15

16                              JURISDICTION AND VENUE
17 7. This action is based on Defendant’s violations of the RFDCPA found in California

18     Civil Code §§ 1788 - 1788.32; and the TCPA found in Title 47 of the United
19     States Code Section 227, et seq..
20 8. This Court has jurisdiction over Defendant, pursuant to 28 U.S.C. § 1331, as the

21     unlawful practices alleged herein involve a federal question under the TCPA.
22 9. The unlawful practices alleged herein occurred in California, in the County of San

23     Diego and violated California’s Civil Code §§ 1788 - 1788.32.
24 10.This Court further has supplemental jurisdiction over Plaintiff’s California Causes

25     of action, pursuant to 28 U.S.C. § 1367(a), as Plaintiff’s California state law
26     claims are so related to Plaintiff’s Federal TCPA claims in this action, that they
27     form part of the same case or controversy.
28 11.Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(b)(1)-(2), because all

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 1     or some of the unlawful practices and violations of law alleged herein occurred
 2     and are occurring in the County of San Diego, California. Furthermore,
 3     Defendant regularly conducts business within State of California, County of San
 4     Diego, and Plaintiff resides in San Diego County, California.
 5

 6                                          PARTIES
 7 12. Plaintiff is, and was at all times mentioned herein, a natural person residing in

 8      the County of San Diego, in the State of California.
 9 13. Plaintiff is a natural person from whom a debt collector sought to collect a
10      consumer debt which was due and owing or alleged to be due and owing from
11      Plaintiff, and therefore Plaintiff is a “debtor” as that term is describe by Cal Civ.
12      Code §1788.2(h).
13 14. On information and belief, Defendant US BANK is a National Banking

14      Association. Plaintiff alleges that US BANK is, and at all times mentioned herein
15      was, chartered as a national bank, with its primary business address in
16      Minnesota, and doing business throughout the country, including in this District.
17 15. Defendant US BANK regularly attempts to collect using mails, electronic

18      communication, and telephone, “consumer debts” allegedly owed to it, as that
19      term is defined by Cal. Civ. Code §1788.2(f).
20 16. When individuals owe Defendant US BANK debts for regular monthly payments

21      on consumer loans and credit cards, and other similar obligations, Defendant US
22      BANK collects on those consumer debts owed to it through the mail, electronic
23      communication, and telephone. Therefore, Defendant US BANK is a “debt
24      collector” as that term is defined by Cal. Civ. Code §1788.2(c) and engages in
25      “debt collection” as that term is defined by Cal. Civ. Code §1788.2(b).
26 17. Defendant is, and all times mentioned herein, was a corporation and “person,” as

27      defined by 47 U.S.C. § 153(39).
28 18. When individuals owe US BANK debts for regular monthly payments on

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 1      consumer loans and credit cards, and other similar obligations, US BANK
 2      collects on those consumer debts owed to them using the mail, electronic
 3      communication, and the telephone. Therefore, US BANK is a “debt collector” as
 4      that term is defined by Cal. Civ. Code §1788.2(c) and engages in “debt
 5      collection” as that term is defined by Cal. Civ. Code §1788.2(b).
 6   19. Cal. Civ. Code § 1877.17 states that every debt collector collecting or attempting
 7      to collect a consumer debt shall comply with the provisions of the Federal Fair
 8      Debt Collection Practices Act, sections 1692b to 1692j, inclusive, of, and shall
 9      be subject to the remedies in Section 1692k of, Title 15 of the United States
10      Code.
11   20. At all times relevant hereto, Defendant used, controlled and or operated an
12      “automatic telephone dialing system” (“ATDS”) as that term is defined by 47
13      U.S.C. § 227(a)(1) and/or placed calls to Plaintiff’s cellular telephone using an
14      automated or prerecorded voice (“Recorded Voice”) as that term is defined in 47
15      U.S.C. § 227(b)(1)(A).
16   21. Defendant is, and all times mentioned herein, was a corporation and “person,” as
17      that term is defined by 47 U.S.C. § 153(39).
18   22. This case involves money, property, or their equivalent, due or owing or alleged
19      to be due or owing from a natural person by reason of a “consumer credit
20      transaction.” Thus, this action arises out of a “consumer debt” and “consumer
21      credit” as those terms are defined by Cal. Civ. Code §1788.2(f).
22

23                                GENERAL ALLEGATIONS
24   23. Plaintiff realleges and incorporates by reference all preceding paragraphs,
25      inclusive, as if fully set forth herein.
26   24. Approximately twelve (12) years ago, Plaintiff was issued an unsecured
27      consumer credit card by Defendant. The credit card was issued in the Plaintiff’s
28      prior / maiden name: “Rebecca Ricci.” The credit card was taken out for, and
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 1      used for, personal and household expenses.
 2 25. Plaintiff made payments toward her US BANK credit card when she took it out,

 3      and continued making regular monthly payments and maintained good standing
 4      on all her US BANK accounts until approximately July of 2021, when
 5      unfortunately, Plaintiff fell on financial hardship and was unable to maintain the
 6      regular monthly payments.
 7 26. Upon going into default on her US BANK credit accounts, agents for US BANK

 8      called Plaintiff multiple times and requested payment using an ATDS and/or a
 9      Recorded Voice, often as many as twice per day, sometimes every day.
10 27. The collection calls were made to Plaintiff’s cellular telephone.

11 28. Plaintiff sought out and retained an attorney to represent her with regards to the

12      debts allegedly owed to US BANK.
13 29. On September 15, 2021, an associate attorney at BLC Law Center, APC drafted

14      and mailed a Cease-and-Desist letter, whereby Plaintiff’s Attorney stated in
15      writing that Plaintiff was revoking consent to call her via the use of an ATDS,
16      that Plaintiff had retained Counsel, and that US BANK needed to cease calling
17      Plaintiff pursuant to the RFDCPA (“Letter”). The Letter referenced the last four
18      digits of Plaintiff’s US BANK account number, and also referenced Plaintiff’s
19      maiden name: Rebecca Ricci, as well as Plaintiff’s current legal / married name:
20      Rebecca Lukens on said letter to help US BANK identify the Plaintiff’s account.
21 30. The Letter informed US BANK that Plaintiff was represented by Counsel and

22      thus constituted written notice pursuant to Cal. Civ. Code §§ 1788.14(c) that
23      Plaintiff was represented by an attorney with respect to any and all debts
24      allegedly owed to or serviced by Defendant, and request was thereby made that
25      all communications regarding this alleged consumer debt must be directed
26      exclusively to Plaintiff’s attorney, and the Letter clearly revoked any prior
27      consent to contact Plaintiff via the use of an automated dialing system phone,
28      text, or other method, including but not limited to calls with a pre-recorded or
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 1      automated voice messages.
 2 31. However, despite receipt of the September 15, 2021 Letter referenced above

 3      which states that Plaintiff had revoked consent to be called via an ATDS and had
 4      retained counsel regarding the subject debts, representatives of US BANK have
 5      continued to call Plaintiff more than one-hundred (100) times since September
 6      15, 2021, on her cellular telephone via the use of and ATDS and/or Pre-Recorded
 7      Voice message.
 8 32. Defendant has called Plaintiff over one-hundred (100) times in total, after receipt

 9      in writing of notice that Plaintiff revoked any prior consent to call Plaintiff via
10      the use of an ATDS and/or Recorded Voice, had retained Counsel for any debts
11      owed to US BANK, and after providing an explicit warning that all direct contact
12      with Plaintiff should cease pursuant to the RFDCPA.
13 33. Despite having received Plaintiff’s September 15, 2021 Letter sent to

14      Defendant’s address for correspondences, US BANK continues to call Plaintiff
15      to date, sometimes multiple times per day in rapid succession, which is indicative
16      of a computerized ATDS.
17 34. US BANK, or its agents or representatives, have contacted Plaintiff on her

18      cellular telephone over one-hundred (100) times since September 15, 2021,
19      including using an ATDS and/or Recorded voice as those terms are defined in 47
20      U.S.C. § 227(a)(1) and/or 47 U.S.C. § 227(b)(1)(A).
21 35. Many of the Defendant’s calls to Plaintiff after receiving the letter contained an

22      “artificial or prerecorded voice” as prohibited by 47 U.S.C. § 227(b)(1)(A).
23 36. The multiple calls made by Defendant or its agents after September 15, 2021

24      were therefore made in violation of 47 U.S.C. § 227(b)(1).
25 37. Despite receipt of Plaintiff’s Attorney’s Letter sent to Defendant’s mailing

26      address, instructing Defendant to cease calling Plaintiff’s cellular telephone via
27      the use of an ATDS and/or Recorded Voice, which provided irrefutable notice
28      that Plaintiff had revoked consent to call her cellular telephone by any means and
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 1      that she had retained Counsel regarding these alleged debts, Defendant US
 2      BANK continues to contact Plaintiff repeatedly to date.
 3

 4                                  CAUSES OF ACTION
 5                                                 I.
 6                               FIRST CAUSE OF ACTION
 7        Violations of California Rosenthal Fair Debt Collection Practices Act
 8                           (California Civil Code § 1788.14(c))
 9 38. Plaintiff realleges and incorporates by reference all preceding paragraphs,
10      inclusive, as if fully set forth herein.
11 39. When Plaintiff’s Counsel sent the September 15, 2021 Cease-and-Desist Letter

12      to US BANK, Defendant US BANK was aware, or reasonably should have been
13      aware, that Plaintiff was represented by an attorney.
14 40. Cal. Civ. Code §1788.14(c) provides in relevant part,

15           No debt collector shall collect or attempt to collect a consumer debt
             by means of the following practices:
16
             (c) Initiating communications, other than statements of account,
17           with the debtor with regard to the consumer debt, when the debt
             collector has been previously notified in writing by the debtor's
18           attorney that the debtor is represented by such attorney with respect
             to the consumer debt and such notice includes the attorney's name
19           and address and a request by such attorney that all communications
             regarding the consumer debt be addressed to such attorney, unless
20           the attorney fails to answer correspondence, return telephone calls,
             or discuss the obligation in question. This subdivision shall not
21           apply where prior approval has been obtained from the debtor's
             attorney, or where the communication is a response in the ordinary
22           course of business to a debtor's inquiry.
23 41. By calling Plaintiff on her cellular phone over one-hundred (100) times after

24     receipt of the September 15, 2021 Letter from Plaintiff’s Counsel, US BANK
25     violated Cal. Civ. Code §1788.14(c).
26 42. As a result of the constant collection calls by US BANK, Plaintiff has

27     experienced anxiety, irritability, and has at times been unable to calm down as
28     the constant and harassing collection calls by US BANK are overwhelming.
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 1      Therefore, Plaintiff has suffered emotional distress as a result of Defendant’s
 2      violations of Cal. Civ. Code §1788.14(c).
 3   43. Further, as stated previous, Cal. Civ. C. § 1788.17 incorporates the FDCPA into
 4      the Rosenthal Fair Debt Collection Practices Act, therefore if an individual
 5      violated 15 U.S.C. § 1692(d), they in turn violate the RFDCPA.
 6 44. 15 U.S.C. § 1692d(5) provides in pertinent part,

 7           A debt collector may not engage in any conduct the natural
             consequence of which is to harass, oppress, or abuse any person in
 8           connection with the collection of a debt. Without limiting the
             general application of the foregoing, the following conduct is a
 9           violation of this section:
10               (5)Causing a telephone to ring or engaging any person in telephone
                 conversation repeatedly or continuously with intent to annoy, abuse, or
11               harass any person at the called number
12 45. Therefore, Defendant’s acts of calling Plaintiff over one-hundred (100) times was

13     a separate violation of 15 U.S.C. § 1692d(5), which is incoporated into the
14     RFDCPA via Cal. Civ. C. § 1788.17.
15                                                 II.
16                             SECOND CAUSE OF ACTION
17                            Negligent Violations of the TCPA
18                                   (47 U.S.C. § 227 Et. Seq.)
19   46. Plaintiff realleges and incorporates by reference all preceding paragraphs,
20      inclusive, as if fully set forth herein.
21   47. Through the September 15, 2021 Letter sent by Plaintiff’s Counsel, Plaintiff
22      revoked any alleged consent for US BANK or its agents or representatives to call
23      Plaintiff on her cellular telephone via the use of an ATDS and/or Recorded
24      Voice.
25   48. The foregoing acts and omissions of US BANK constitutes numerous and
26      multiple negligent violations of the TCPA, including but not limited to every one
27      of the above-cited provisions of 47 U.S.C. § 227, et. seq.
28   49. As a result of US BANK’s negligent violations of 47 U.S.C. §227, et. seq.,
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 1      Plaintiff is entitled to an award of $500 in statutory damages, for each violation,
 2      pursuant to 47 U.S.C. § 227(b)(3)(B).
 3 50. Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in

 4      the future, pursuant to 47 U.S.C. § 227(b)(3)(A).
 5

 6                                            III.
 7                              THIRD CAUSE OF ACTION
                      Knowing and/or Willful Violations of the TCPA
 8
                                    (47 U.S.C. § 227 Et. Seq.)
 9 51. Plaintiff realleges and incorporates by reference all preceding paragraphs,
10      inclusive, as if fully set forth herein.
11 52. Through the September 15, 2021 Letter sent by Plaintiff’s Counsel to US

12      BANK’s corporate headquarters, Plaintiff revoked any alleged consent for the
13      US BANK or its agents or representatives to call Plaintiff on her cellular
14      telephone via the use of an ATDS and/or Recorded Voice.
15 53. The foregoing acts of the US BANK constitute numerous and multiple knowing

16      and/or willful violations of the TCPA, including but not limited to every one of
17      the above-cited provisions of 47 U.S.C. § 227, et. seq.
18 54. Therefore, since US BANK or its agents or representatives continued to call

19      Plaintiff despite indisputably being informed not to call Plaintiff and that
20      Plaintiff had revoked any alleged prior consent to call Plaintiff’s cellular
21      telephone via the use of an ATDS and/or Recorded Voice, US BANK’s acts
22      were willful.
23 55. As a result of US BANK’s knowing and/or willful violations of 47 U.S.C. §227,

24      et. seq., the Plaintiff is entitled to an award of $1,500 in statutory damages for
25      every one of US BANK’s over one-hundred (100) knowing and/or willful
26      violations of the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(C).
27 56. Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in

28      the future, pursuant to 47 U.S.C. § 227(b)(3)(A).
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 1                                 PRAYER FOR RELIEF
 2        WHEREFORE, Plaintiff having set forth the claims for relief against
 3 Defendant US BANK herein, respectfully request this Court enter a Judgment against

 4 Defendant as follows:

 5 a. As to the First Cause of Action, an award of actual damages pursuant to Cal. Civ.

 6     Code §1788.30(a) according to proof.
 7 b. As to the First Cause of Action, an award of statutory damages of $1,000.00

 8     pursuant to Cal. Civ. Code §1788.30(b).
 9 c. As to the First Cause of Action, an award of reasonable attorney’s fees and costs
10     pursuant to Cal. Civ. Code §1788.30(c).
11 d. As to the Second Cause of Action, $500 in statutory damages for each and every

12     one of Defendant’s over one-hundred (100) negligent violations of 47 U.S.C.
13     §227(b)(1), pursuant to 47 U.S.C. § 227(b)(3)(B).
14 e. As to the Second Cause of Action, injunctive relief prohibiting such conduct in the

15     future pursuant to 47 U.S.C. § 227(b)(3)(A);
16 f. As to the Third Cause of Action, $1,500.00 in statutory damages for each and

17     every one of Defendant’s over one-hundred (100) knowing and/or willful
18     violations of 47 U.S.C. § 227(b)(1), pursuant to 47 U.S.C. § 227(b)(3)(C).
19 g. For such other and further relief as the Court may deem just and proper.

20

21 Dated: April 13, 2022             By:            BLC Law Center, APC
22                                                  s/ Ahren A. Tiller
                                                    Ahren A. Tiller, Esq.
23                                                  Attorney for Plaintiff
                                                    REBECCA LUKENS
24                                                  Email: ahren.tiller@blc-sd.com
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 1                                DEMAND FOR JURY TRIAL
 2
             Pursuant to the Seventh Amendment to the Constitution of the United States of
 3
     America, Plaintiff is entitled to, and demands a trial by jury on all issues triable by a
 4
     jury.
 5

 6

 7 Dated: April 13, 2022                By:            BLC Law Center, APC
 8                                                     s/ Ahren A. Tiller
                                                       Ahren A. Tiller, Esq.
 9                                                     Attorney for Plaintiff
                                                       REBECCA LUKENS
10                                                     Email: ahren.tiller@blc-sd.com
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